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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LIBERTARIAN PARTY OF                             )
PENNSYLVANIA, THE CONSTITUTION                   )
PARTY OF PENNSYLVANIA, AND                       )
GREEN PARTY OF PENNSYLVANIA,                     )
STEVE SCHEETZ, KEVIN GAUGHEN,                    )
ALAN SMITH, TIMOTHY RUNKLE, BOB                  )
GOODRICH, AND JUSTIN MAGILL                      )
                                                 )   Case No: 2:20-cv-2299
              Plaintiffs,                        )
                                                 )
       vs.                                       )   Judge:
                                                 )
TOM WOLF, in his official capacity as            )
Governor of the Commonwealth of                  )
Pennsylvania                                     )
                                                 )
and                                              )
                                                 )
KATHY BOOCKVAR, in her official                  )
capacity as Secretary of the Commonwealth        )
of Pennsylvania                                  )
                                                 )
and                                              )
                                                 )
JONATHAN M. MARKS, in his official               )
capacity as Deputy Secretary for Elections       )
and Commissions                                  )
                                                 )
              Defendants.                        )
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                      TEMPORARY RESTRAINING ORDER AND
                      PRELIMINARY INJUNCTION REQUESTED


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                                                 COMPLAINT

                                               Nature of the Case


         1.       This is an action to declare unconstitutional, enjoin and/or modify Pennsylvania’s

in-person signature collection and witnessing requirements for minor political party and political

body candidates in Pennsylvania seeking to qualify for the November 3, 2020 general election in

light of the current public health emergency caused by the coronavirus pandemic (COVID-19) and

the Governor’s emergency orders effectively shutting down the Commonwealth.

                                 Signature Requirements for Candidates

         2.       Pennsylvania classifies general-election candidates into three groups: (a) those

affiliated with a “Political Party”; (b) those affiliated with a “Minor Political Party”; and (c) those

affiliated with a “Political Body.” See 25 Pa Stat. Ann. § 2831(a) – (c) and 25 Pa. Stat. Ann §

2872.2(a).

         3.       An organization qualifies as a “Political Party” if, during the most recent general

election, one of its candidates polled at least two percent of the largest entire vote cast in each of

at least ten counties and polled a total vote in the state equal to at least two percent of the largest

entire vote cast for any elected candidate. See 25 Pa. Stat. Ann. § 2831(a). To date, only the

Republican Party and Democratic Party are classified as “Political Parties” as defined by

Pennsylvania statute.1 A “Minor Political Party” is a political party that received less than 15

percent of the total statewide registration for all political parties. See 25 Pa. Stat. Ann. § 2872.2(a).

“Political Bodies” are organizations that did not have a candidate who crossed the two-percent

threshold in the last election. See Constitution Party of Pennsylvania v. Cortes, 824 F.3d 386, 390

1
 “Political Parties” as defined by 25 Pa. Stat. Ann. § 2831(a) are oftentimes colloquially referred to as major
parties; however, the term “major party” is not used or defined in the Pennsylvania statutes.

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(3d Cir. 2016) (citing Rogers v. Corbett, 468 F.3d 188, 190-91 (3d Cir. 2006)).

       4.       Political Parties select their nominees by means of taxpayer-funded primary

elections. See 25 Pa. Stat. Ann. § 2861(a); 25 Pa. Stat. Ann § 2645(a) (“The county commissioners

or other appropriating authorities of the county shall appropriate annually, and from time to time,

to the county board of elections of such county, the funds that shall be necessary for the

maintenance and operation of the board and for the conduct of primaries and elections in such

county, including…all ballots and other primary and election supplies required by this act”).

Candidates seeking the nomination of a Political Party must submit “nomination petitions” with a

specified number of signatures of voters registered with their party in order to be placed on that

party’s primary election ballot. See 25 Pa. Stat. Ann. § 2867. The winning candidates in the

primary election automatically qualify for placement on the ballot in the general election. See 25

Pa. Stat. Ann. § 2862.

       5.       “Political Bodies” and “Minor Political Parties” (and voters registered as such) are

not able to participate in Pennsylvania’s primary election. Instead, candidates of these parties do

not circulate “nomination petitions”, but rather, must circulate “nomination papers” and obtain the

required number of signatures from voters in order to appear on the general election ballot. See

25 Pa. Stat. Ann. § 2872.2(a) – (c).

       6.       Plaintiffs Libertarian Party of Pennsylvania (“LPPA”), Constitution Party of

Pennsylvania (“CPPA”) and Green Party of Pennsylvania (“GPPA”) are all Political Bodies under

Pennsylvania law. Currently, there are no Minor Political Parties in Pennsylvania.

       7.       The signature requirements for “Political Parties” (i.e. the Republican Party and the

Democratic Party) are specified in 25 Pa. Stat. Ann. § 2872.1 (e.g. President of the United States:

2,000 signatures; Governor: 2,000 signatures, including at least one hundred from each of at least



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ten counties; Representative in the General Assembly: 300 signatures).

       8.       Until 2016, the signature requirement for “Minor Political Parties” and “Political

Bodies” fluctuated from year to year because it was defined as “two per centum of the largest

entire vote cast for any elected candidate in the State at large at the last preceding election at which

State-wide candidates were voted for” and for all other positions, the signature requirement was

set at “two per centum of the largest entire vote cast for any officer, except a judge of a court of

record, elected at the last preceding election in said electoral district for which said nomination

papers are to be filed, and shall be not less than the number of signers required for nomination

petitions for party candidates for the same office” 25 Pa. Stat. Ann. § 2911(b). In 2016, the Third

Circuit Court of Appeals affirmed the judgment of this Court holding § 2911(b) unconstitutional

as applied in combination with 25 Pa. Stat. Ann. § 2937. See CPPA v. Cortes, 824 F.3d 386, 389

(3d Cir. 2016) (“We simply hold that what the Commonwealth cannot do is avoid the clear import

of the District Court’s order in this case: that §§ 2911(b) and 2937, when enforced together, are

unconstitutional as applied to the Aspiring Parties”). Accordingly, Chief Judge Lawrence F.

Stengel ordered, inter alia, that the signature requirements for Political Bodies be set at a specified

number for all offices. See Order, Constitution Party v. Aichele, No. 12-2726, Doc. No. 115 (E.D.

Pa. February 1, 2018) (attached as Exhibit A).

       9.       This Court’s February 1, 2018 order in Constitution Party v. Aichele established

the following signature requirements that now apply to Political Body candidates:

       President of the United States: 5,000 signatures;

       United States Senate: 5,000 signatures;

       Governor: 5,000 signatures;

       Lieutenant Governor: 2,500 signatures;



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       Treasurer: 2,500 signatures;

       Attorney General: 2,500 signatures;

       Auditor General: 2,500 signatures;

       Justice of the Supreme Court: 2,500 signatures;

       Judge of the Superior Court: 2,500 signatures;

       Judge of the Commonwealth Court: 2,500 signatures;

       Any other statewide office: 2,500 signatures;

       Candidates for non-statewide offices must comply with the signature requirements

       specified in § 2911(b).

       See Exhibit A.

       10.    Pursuant to this Court’s February 1, 2018 order, the signature requirement for a

Political Body candidate seeking the position of Representative in Congress varies based on the

Congressional District, between 1,800 for District 12 and 5,753 for District 3. The signature

requirements for a Political Body candidate seeking the position of Senator in the General

Assembly varies based on the Pennsylvania Senate District, between 500 for District 33 and 2,300

for District 43. The signature requirement for a Political Body candidate seeking the position of

Representative in the General Assembly varies based on the Pennsylvania House District, between

241 for District 123 and 652 for District 200. See Exhibit A and Pennsylvania Department of

State, Minor Political Party and Political Body Signature Requirements for Statewide Offices for

General        Election          –     November          3,       2020,       available        at

https://www.dos.pa.gov/VotingElections/CandidatesCommittees/RunningforOffice/Documents/2

020/3rd%20party%20signature%20requirements%202020.pdf           (accessed    May    11,   2020).

Candidates of their respective Political Body may collect signatures from the tenth Wednesday



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prior to the primary until the deadline for filing their nomination papers, which is the second Friday

subsequent to the primary. 25 Pa. Stat. Ann. § 2913(b) – (c). These dates were revised pursuant

to the enactment of Act 2020-12 to be February 19, 2020 and August 3, 2020. 2

                                                 PARTIES

          11.      Plaintiff LPPA is a Political Body in Pennsylvania that seeks to qualify federal and

state candidates for Pennsylvania’s November 3, 2020 General Election ballot. 3 In addition to its

presidential ticket, these candidates include:

          A.       William Martin Sloane, who was nominated as the LPPA’s stand-in candidate for

    President of the United States;

          B.       Daniel Fishman, who was nominated as the LPPA’s stand-in candidate for Vice

    President of the United States;

          C.       Joseph P. Soloski, who was nominated as the LPPA’s candidate for State Treasurer;

    and also nominated as the LPPA’s candidate for State Representative for District 81;

          D.       Jennifer Moore, who was nominated as the LPPA’s candidate for Auditor General;

          E.       Daniel Wassmer, who was nominated as the LPPA’s candidate for Attorney

    General;

          F.       Steve Scheetz, who was nominated as the LPPA’s candidate for U.S. House of

    Representatives for Pennsylvania Congressional District 1;

          G.       Liz Terwilliger, who was nominated as the LPPA’s candidate for U.S. House of

    Representatives for Pennsylvania Congressional District 12;




2
  See also, “Commonwealth of Pennsylvania Department of State Bureau of Elections and Notaries 2020 Pennsylvania
Elections Important Dates to Remember Revised on March 27, 2020 with enactment of Act 2020-12”
https://www.dos.pa.gov/VotingElections/CandidatesCommittees/RunningforOffice/Documents/2020/2020%20impo
rtant%20dates.pdf.
3
  The Libertarian Party of Pennsylvania held their state convention on March 6, 2020 – March 8, 2020.

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      H.       Nicole Rosenthal Golden, who was nominated as the LPPA’s candidate for

Pennsylvania State Senate for District 23;

      I.       Ric Caruso, who was nominated as the LPPA’s candidate for Pennsylvania State

Senate for District 25;

      J.       Adam Joseph Klus, who was nominated as the LPPA’s candidate for Pennsylvania

State Senate for District 49;

      K.       Scottie Freeman, who was nominated as the LPPA’s candidate for Pennsylvania

State Representative for District 1;

      L.       Glenn Tuttle, who was nominated as the LPPA’s candidate for Pennsylvania State

Representative for District 6;

      M.       Bradley Cooper, who was nominated as the LPPA’s candidate for Pennsylvania

State Representative for District 31;

      N.       Shane Jones, who was nominated as the LPPA’s candidate for Pennsylvania State

Representative for District 43;

      O.       Chad DeSantis, who was nominated as the LPPA’s candidate for Pennsylvania

State Representative for District 49;

      P.       John Waldenberger, who was nominated as the LPPA’s candidate for Pennsylvania

State Representative for District 53;

      Q.       Ken Bach, who was nominated as the LPPA’s candidate for Pennsylvania State

Representative for District 58;

      R.       Noyes Lawton, who was nominated as the LPPA’s candidate for Pennsylvania State

Representative for District 68;

      S.       Marlin Bressi, who was nominated as the LPPA’s candidate for Pennsylvania State



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Representative for District86;

       T.     Lauren Dowling Turner, who was nominated as the LPPA’s candidate for

Pennsylvania State Representative for District 89;

       U.     Phillip Sanchez, who was nominated as the LPPA’s candidate for Pennsylvania

State Representative for District 90;

       V.     Larry Frey, who was nominated as the LPPA’s candidate for Pennsylvania State

Representative for District 110;

       W.     Joseph Van Wagner, who was nominated as the LPPA’s candidate for Pennsylvania

State Representative for District 131;

       X.     Joyce Beer, who was nominated as the LPPA’s candidate for Pennsylvania State

Representative for District 140;

       Y.     Theodore Frimet, who was nominated as the LPPA’s candidate for Pennsylvania

State Representative for District 141;

       Z.     Jared D. Martin, who was nominated as the LPPA’s candidate for Pennsylvania

State Representative for District 147;

       AA.    Hobson McKown, who was nominated as the LPPA’s candidate for Pennsylvania

State Representative for District 171.

       12.    Plaintiff, Steve Scheetz, is the Chair of the LPPA, a registered voter in

Pennsylvania, and a LPPA supporter who has in the past voted for LPPA candidates and who

wishes to vote for LPPA candidates in the 2020 general election.

       13.    Plaintiff, Kevin Gaughen, is the Executive Director of the LPPA, a registered voter

in Pennsylvania, and a LPPA supporter who has in the past voted for LPPA candidates and who

wishes to vote for LPPA candidates in the 2020 general election.



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        14.      Plaintiff GPPA is a Political Body in Pennsylvania that seeks to qualify federal and

state candidates for Pennsylvania’s November 3, 2020 General Election ballot. 4 In addition to its

presidential ticket, the candidates who are actively campaigning include:

        A.       Elizabeth Scroggin, of Chester County, Pennsylvania, who was nominated as the

GPPA’s stand-in candidate for President of the United States;

        B.       Neal Gale, of Montgomery County, Pennsylvania, who was nominated as the

GPPA’s stand-in candidate for Vice President of the United States;

        C.       Olivia Faison, of Philadelphia County, Pennsylvania, who was nominated as the

GPPA’s candidate for Auditor General;

        D.       Richard Weiss, of Allegheny County, who was nominated as the GPPA’s candidate

for Attorney General;

        E.       Timothy Runkle, of Lancaster County, who was nominated as the GPPA’s

candidate for State treasurer;

        F.       Jay Ting Walker, of Allegheny County, who was nominated as the GPPA’s

candidate for State Representative of the 23rd District;

        G.       Garret Wassermann, of Allegheny County, who was nominated as the GPPA’s

candidate for State Representative of the 45th District;

        H.       Michael Bagdes-Canning, of Butler County, who was nominated as the GPPA’s

candidate for State Representative for the 64th District.

        15.      Plaintiff Alan Smith is the Co-Chair of the GPPA, a registered voter in

Pennsylvania, and a GPPA supporter who has in the past voted for GPPA candidates and who


4
  The Green Party of Pennsylvania held a January 12, 2020 virtual meeting where they made several nominations.
The Green Party of Pennsylvania was forced to cancel its state convention due to the COVID-19 pandemic, but has
rescheduled it as a virtual meeting scheduled for June 7, 2020, where they intend to formally nominate additional
candidates who have been campaigning.

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wishes to vote for GPPA candidates in the 2020 general election.

        16.      Plaintiff Sheri Miller is the Co-Chair of the GPPA, a registered voter in

Pennsylvania, and a GPPA supporter who has in the past voted for GPPA candidates and who

wishes to vote for GPPA candidates in the 2020 general election.

        17.      Plaintiff, Timothy Runkle, was nominated as the GPPA’s candidate for State

Treasurer, is a registered voter in Pennsylvania, and a GPPA supporter who has in the past voted

for GPPA candidates and who wishes to vote for GPPA candidates in the 2020 general election.

        18.      Plaintiff CPPA is a Political Body in Pennsylvania that seeks to qualify federal and

state candidates for Pennsylvania’s November 3, 2020 General Election ballot. 5 These candidates

include:

        A.       Don Blankenship, who was nominated as the Constitution Party’s candidate for

President of the United States;

        B.       Bill Mohr, who was nominated as the Constitution Party’s candidate for Vice

President of the United States;

        C.       Joe Billie, who was nominated as the CPPA’s candidate for the U.S. House of

Representatives for the Pennsylvania 5th Congressional District;

        D.       Bob Pyle, who was nominated as the CPPA’s candidate for the U.S. House of

Representatives for the Pennsylvania 12 Congressional District.

        19.      Plaintiff, Bob Goodrich, is the Chair of the CPPA, a registered voter in

Pennsylvania, and a CPPA supporter who has in the past voted for CPPA candidates and who

wishes to vote for CPPA candidates in the 2020 general election.

        20.      Plaintiff, Justin Magill, is the Vice-Chair of the CPPA, a registered voter in


5
 The Constitution Party of Pennsylvania’s state convention, originally scheduled to be an in-person convention, was
conducted via conference call on April 3, 2020 – April 4, 2020.

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Pennsylvania, and a CPPA supporter who has in the past voted for CPPA candidates and who

wishes to vote for CPPA candidates in the 2020 general election.

           21.     Defendant Tom Wolf is the Governor of Pennsylvania and possesses emergency

power to act during emergencies and times of crisis, including the COVID-19 pandemic. Plaintiffs

assert their claims against Governor Wolf is his official capacity only. Governor Wolf’s address

is: Office of the Governor, 508 Main Capital Building, Harrisburg, PA 17120.

           22.     Defendant Kathy Boockvar is the Secretary of the Commonwealth of Pennsylvania

and serves as the head of the Department of State, “which promotes the integrity of the electoral

process.”        The Secretary of the Commonwealth is Pennsylvania’s Chief Election Official.6

Additionally, the Secretary of the Commonwealth determines the forms of nomination petitions

and papers, expense accounts and all other forms and records and determines the sufficiency of

nomination petitions, certificates and papers of candidates for President of the United States,

presidential electors, United States senators, representatives in Congress and all State offices,

including senators, representatives and judges of all courts of record, and delegates and alternate

delegates to National Conventions and members of State committees. 25 Pa. Stat. Ann. § 2621(a),

(d).     Plaintiffs assert their claims against Secretary Boockvar in her official capacity only.

Secretary Boockvar’s address is 302 North Office Building, 401 North Street, Harrisburg, PA

17120.

           23.     Defendant Jonathan Marks is the Deputy Secretary for Elections and Commissions

for the Bureau of Commissions, Elections and Legislation. Deputy Secretary Marks oversees the

Commonwealth’s electoral process, campaign finance, voter registration and office of notary

public, commissions and legislation. Plaintiffs assert their claims against Deputy Secretary Marks



6
    https://www.dos.pa.gov/about-us/Pages/default.aspx

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in his official capacity only. Deputy Secretary Marks’ address is 210 North Office Building,

Harrisburg, PA 17120.

       24.     At all times relevant to this action, Defendants were engaged in state action under

color of state law.

       25.     Defendants are being sued in their official capacities for declaratory and injunctive

relief under 42 U.S.C. § 1983 and 28 U.S.C. § 2201, as well as costs and attorney’s fees under 42

U.S.C. § 1988(b).

                                         JURISDICTION

       26.     Jurisdiction in this case is predicated on 28 U.S.C. § 1331, this being a case arising

under the Constitution of the United States and 42 U.S.C. § 1983.

                                               VENUE

       27.     Venue is proper in this District under 28 U.S.C. 1391(b) because a substantial part

of the events giving rise to Plaintiffs’ claims occurred in the Eastern District of Pennsylvania.

                                               FACTS

                      The COVID-19 Pandemic and Pennsylvania’s Response

       28.     In December 2019, an outbreak of respiratory disease caused by a novel

Coronavirus emerged in Wuhan, China. The respiratory disease caused by the novel Coronavirus,

now known as “COVID-19,” is an infectious disease that is easily spread from person to person

and can result in serious illness and death.

       29.     On January 30, 2020, after the coronavirus outbreak had spread well beyond China,

the World Health Organization declared that COVID-19 constitutes a Public Health Emergency of

International Concern.

       30.     On January 31, 2020, as a result of confirmed cases of COVID-19 in the United



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States, Health and Human Services Secretary Alex M. Azar, II declared a nationwide public health

emergency retroactive to January 27, 2020.

          31.     The last day to circulate and file nomination petitions by Republican and

Democratic candidates was February 18, 2020.                Accordingly, Republican and Democratic

candidates were not affected by Governor Wolf’s subsequent “stay at home” orders or other

executive orders as a result of the COVID-19 pandemic.

          32.     The first day for Political Body candidates to circulate and file nomination papers

was February 19, 2020.

          33.     On February 27, 2020, the Centers for Disease Control issued guidance

recommending, among other things, that members of the public practice “social distancing” and

minimize close contact with others in order to slow the spread of COVID-19.

          34.     On March 6, 2020, Governor Wolf proclaimed the existence of a disaster

emergency throughout the Commonwealth pursuant to 35 Pa. C.S. § 7301(c). See “Proclamation

of Disaster Emergency,” March 6, 2020. 7

          35.     On March 11, 2020, the World Health Organization declared COVID-19 to be a

global pandemic.

          36.     On March 13, 2020, the President of the United States declared a national

emergency (retroactive to March 1, 2020) due to the COVID-19 outbreak in the United States.

          37.     On March 19, 2020, Governor Wolf issued an order regarding the closure of all

businesses that are not life sustaining. “No person or entity shall operate a place of business in the

Commonwealth that is not a life sustaining business regardless of whether the business is open to

members of the public...Enforcement actions will be taken against non-life sustaining businesses



7
    https://www.governor.pa.gov/wp-content/uploads/2020/03/20200306-COVID19-Digital-Proclamation.pdf

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that are out of compliance effective March 21, 2020, at 12:01 a.m.” The order specifically defines

“business, professional, labor, political, and similar organizations” as non-life sustaining

(emphasis added). 8 See “Order of the Governor of Pennsylvania Regarding the Closure of All

Businesses that are not Life Sustaining,” March 19, 2020. 9

       38.     On March 23, 2020, Governor Wolf issued a stay at home order effective until April

6, 2020. “All individuals residing in Allegheny County, Bucks County, Chester County, Delaware

County, Monroe County, Montgomery County, and Philadelphia County are ordered to stay at

home except as needed to access, support, or provide life sustaining business, emergency, or

government services…Individuals leaving their home or place of business to access, support, or

provide life sustaining services for themselves, another person, or a pet must employ social

distancing practices as defined by the Centers for Disease Control and Prevention. Individuals are

permitted to engage in outdoor activities; however, gatherings of individuals outside of the home

are generally prohibited except as may be required to access, support or provide life sustaining

services.” See “Order of the Governor of the Commonwealth of Pennsylvania for Individuals to

Stay at Home,” March 23, 2020.10

       39.     On March 24, 2020, Governor Wolf amended his March 23, 2020 stay at home

order to include Erie County. 11

       40.     On March 25, 2020, Governor Wolf amended his March 23, 2020 stay at home

order to include Lehigh and Northampton Counties. 12

       41.     On March 25, 2020, Governor Wolf authorized temporary remote notarization of


8
  https://www.scribd.com/document/452416026/UPDATED-2-30pm-March-24-2020-Industry-Operation-Guidance
(see page 6).
9
  https://www.scribd.com/document/452416027/20200319-TWW-COVID-19-Business-Closure-Order
10
   https://www.scribd.com/document/452929592/03-23-20-TWW-COVID-19-Stay-at-Home-Order
11
   https://www.scribd.com/document/453095384/03-25-20-TWW-Stay-at-Home-Order-With-Erie-Amendment
12
   https://www.scribd.com/document/453207763/03-25-20-GOV-Stay-at-Home-Order-With-Northampton-and-
Lehigh

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some documents during the Coronavirus Emergency. 13

       42.     On March 27, 2020, Governor Wolf amended his March 23, 2020 stay at home

order to include Berks, Butler, Lackawanna, Lancaster, Luzerne, Pike, Wayne, Westmoreland, and

York Counties. 14

       43.     On March 28, 2020, Governor Wolf amended his March 23, 2020 stay at home

order to include Beaver, Centre, and Washington Counties. 15

       44.     On March 30, 2020, Governor Wolf amended his March 23, 2020 stay at home

order to include Carbon, Cumberland, Dauphin, and Schuylkill Counties. 16

       45.     On March 31, 2020, Governor Wolf amended his March 23, 2020 stay at home

order to include Cameron, Crawford, Forest, Franklin, Lawrence, Lebanon, and Somerset

Counties. 17

       46.     On April 1, 2020, Governor Wolf issued a statewide “stay at home order” effective

until April 30, 2020. “All individuals in the Commonwealth are ordered to stay at home except

as needed to access, support, or provide life-sustaining businesses, emergency, or government

services…Individuals leaving their home or place of residence to access, support, or provide life-

sustaining services for themselves, another person, or a pet must employ social distancing practices

as defined by the Centers for Disease Control and Prevention.” See “Order of the Governor of the

Commonwealth of Pennsylvania for Individuals to Stay at Home,” April 1, 2020.18

       47.     On April 22, 2020, Governor Wolf instituted a process to “reopen Pennsylvania”

with a targeted May 8, 2020 start date. He classified counties as being in a “red phase,” a “yellow



13
   https://www.dos.pa.gov/Documents/2020-03-25-Notaries-Inperson-limited-suspension.pdf
14
   https://www.scribd.com/document/453540745/03-27-20-GOV-Stay-at-Home-Order-Amendment
15
   https://www.scribd.com/document/453679862/03-28-20-GOV-Stay-at-Home-Order-Amendment
16
   https://www.scribd.com/document/453970547/03-30-20-GOV-Stay-at-Home-Order-Amendment
17
   https://www.scribd.com/document/454174355/03-31-20-GOV-Stay-at-Home-Order-Amendment
18
   https://www.scribd.com/document/454418389/04-01-20-GOV-Statewide-Stay-at-Home-Order

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phase,” or a “green phase.” 19

        48.     The red phase maintains the stay at home orders. For counties in the “yellow

phase,” the stay at home order will be lifted, but “large gatherings of more than 25 [people are]

prohibited…all entertainment (such as casinos, theaters) remain closed…restaurants and bars [are]

limited to carry-out and delivery only.” 20 Currently, every county in Pennsylvania is either in a

red phase or a yellow phase.

        49.     The Governor’s website notes that Pennsylvanians should still maintain social

distancing of at least six feet even in counties that are in the “yellow phase.” (“All Pennsylvanians

should continue to maintain social distancing even as the reopening and easing of restriction

process begins. With few exceptions, Pennsylvanians should maintain a distance of six feet from

each other, gatherings of more than 25 people will be prohibited, and non-essential travel should

be avoided”). 21

        50.     On May 1, 2020, Governor Wolf announced that 24 counties in the northwest and

north-central regions of Pennsylvania will move from a “red phase” to a “yellow phase” beginning

May 8, 2020. 22

        51.     On May 8, 2020, Governor Wolf announced that 13 more counties, located in

mostly in southwestern and southcentral Pennsylvania, will move from a “red phase” to a “yellow

phase” beginning on May 15, 2020. 23

        52.     On May 8, 2020, Secretary of Health Dr. Rachel Levine signed new orders




19
   https://www.governor.pa.gov/newsroom/gov-wolf-reopening-targeted-for-may-8-in-north-central-northwest/ and
https://www.governor.pa.gov/process-to-reopen-pennsylvania/
20
   Id.
21
   Id.
22
   https://www.governor.pa.gov/newsroom/gov-wolf-announces-reopening-of-24-counties-beginning-may-8/
23
   https://www.governor.pa.gov/newsroom/gov-wolf-announces-13-counties-will-move-to-yellow-phase-of-
reopening-on-may-15/

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extending the “stay at home” orders for “red phase” counties until June 4, 2020.24

           53.     Pennsylvania has the 6th largest number of reported COVID-19 cases in the United

States. 25

           54.     Given the severity of the COVID-19 pandemic and its impact on Pennsylvania, it

remains uncertain whether the Governor’s emergency orders, including his stay at home order,

will be lifted before the August 3, 2020 deadline to file nomination papers for Political Bodies.

           55.     Philadelphia County – a “red phase” county – has the highest number of COVID-

19 cases in the state and it appears that it will still be in the “red” category at least until June 4,

2020. Even assuming the Governor will lift the stay at home order by June 4, 2020, Plaintiffs and

their candidates in the “red phase” counties will have lost over 10 weeks of signature collection

time, or more than 58 percent of the time allotted to them to collect signatures in person by

Pennsylvania law.

           56.     According to the Centers for Disease Control, older adults (particularly those over

65) and people of any age who have serious underlying medical conditions (including asthma,

heart disease, cancer, and diabetes) may be at higher risk for severe illness from COVID-19.

       Gathering Signatures for Nomination Papers Is Both Illegal and Practically Impossible
                                   Under Pennsylvania Law

           57.     Petitioning to qualify candidates and Political Bodies for Pennsylvania’s November

3, 2020 general election ballot is not defined as an “essential” activity under Governor Wolf’s

March 23 stay at home order. The public health emergency caused by COVID-19 and the various

“stay at home” orders issued by Governor Wolf make it unlawful and practically impossible to

gather signatures for nomination papers in Pennsylvania. The Governor’s website stated that



24
     Id.
25
     https://www.worldometers.info/coronavirus/country/us/, (May 7, 2020)

                                                         17
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“[l]aw enforcement remains focused on achieving voluntary compliance through education, but

citations are possible for violators depending on the specific circumstances of an investigation.”26

Further, government officials at virtually every level are directing people to stay at home, to

practice “social distancing,” and to avoid being within six feet of other people.

        58.     The Governor’s new remote rules for notaries and witnesses demonstrate that

requiring in-person contact to satisfy Pennsylvania’s petitioning requirements is not presently

possible. Further, it will remain difficult if not practically impossible to collect signatures after

emergency measures are lifted, because personal contact with large numbers of people during the

COVID-19 pandemic will continue to present an unacceptable risk to the public health.

        59.     Gathering signatures during the COVID-19 outbreak endangers not only the health

but also the lives of petition-circulators, potential signers, and the public at large.

        60.     Even if it were legal and/or physically feasible to gather signatures during the

current public health emergency, petition-circulators will be unable to gather signatures because

there are fewer people congregating in public places and fewer people are likely to open their door

to strangers who come knocking.

                     Safer and Less Burdensome Alternatives Are Available

        61.     Pennsylvania adopted its in-person signature-gathering procedure in 1937, and it

has not substantially updated or improved the procedure in the 83 years since.

        62.     Collecting signatures by hand on paper nomination petitions is inherently

burdensome, labor-intensive and inefficient as a means of demonstrating voter support. Many

signatures are invalidated due to illegibility, missing information and other technical defects. This

obliges candidates and parties to collect 25-50 percent more signatures than the requirement, to


26
  https://www.governor.pa.gov/newsroom/gov-wolf-announces-13-counties-will-move-to-yellow-phase-of-
reopening-on-may-15/

                                                    18
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account for those that may be invalidated, which needlessly increases the burden and expense of

demonstrating the requisite modicum of voter support.

           63.      Pennsylvania has adopted the Pennsylvania Electronic Transactions Act (a version

of which all states have enacted), providing that electronic signatures must be given legal effect

for purposes of most contracts and many other legal instruments. Electronic Transactions Act,

1999 Pa. Legis. Serv. Act 1999-69 (S.B. 555) (Purdon’s).

           64.      Arizona has already implemented online petitioning, see Arizona Secretary of

State: Citizen Clean Elections Commission, Welcome to E-Qual 27 (“In Arizona, candidates are

required to obtain a minimum number of petition signatures to appear on a ballot. Voters interested

in assisting Statewide and Legislative candidates can now sign a petition electronically”), and New

Jersey’s Governor on March 19, 2020 by executive order implemented online petitioning and

signature collection for candidates in response to the coronavirus pandemic. See Executive Order

No. 105, March 19, 2020 28 (“The Secretary of State, county clerks, and municipal clerks shall also

accept petitions with signatures collected via an online form created by the Secretary of State,

which shall be available for use by Thursday, March 19, 2020”). Denver, Colorado and the District

of Columbia have also implemented a web-enabled application called E-Sign, which enables

petition circulators to collect signatures on electronic tablets. These web-based platforms are

integrated with the jurisdiction’s voter rolls, and thus validate signatures automatically, eliminating

the need to collect more signatures than the statutorily required number.

           65.      In Vermont, the legislature passed a bill that eliminated petition requirements for

the 2020 general election. (“[A] person shall not be required to collect voter signatures in order to

have the person’s name placed on any ballot in the year 2020, including on any local election


27
     https://apps.azsos.gov/equal/
28
     https://www.state.nj.us/state/elections/assets/pdf/candidate/EO-105.pdf

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ballot. Accordingly, a person shall not be required to file a primary petition as a major party

candidate for the primary, a statement of nomination as an independent candidate for the general

election, or a petition as a candidate for a local election, as those contain the voter signatures”).

Vermont Act 92 of 2020, Sec. 2(a). 29

          66.     In Illinois, Chief Judge Pallmeyer of the United States District Court for the

Northern District of Illinois granted a preliminary injunction to minor party plaintiffs in a case

based on similar facts and circumstances as this one. See Libertarian Party of Illinois, et al. v.

Pritzker, et al., No. 1:2020cv02112-Document 26 (N.D. Ill. 2020). Pursuant to the Court’s order,

the minor party and independent candidate plaintiffs are qualified for placement on Illinois’

November 3, 2020 general election ballot for each office for which the respective party or

candidate qualified for placement on Illinois’ general election ballot in either 2018 or 2016, and

Illinois’ petition requirements for such offices are enjoined. See id. For all other minor party and

independent candidates, the Court reduced the signature requirements to 10 percent of the

signature requirement specified in the State of Illinois 2020 Candidate’s Guide issued by the

Illinois State Board of Elections. Additionally, the Court: (1) enjoined the in-person signature

requirement, circulator statement, and notarization requirement for minor party and independent

candidates; (2) enjoined the requirement that minor party or independent candidates must file the

“original sheets which have been signed by the voters and by the circulator, and not photocopies

or duplicates of such sheets”; (3) ordered that a physical “wet” signature is permitted but not

required on the candidate’s petition, such that petition signers may physically sign a copy of a

candidate’s petition, or they may electronically sign the petition using a finger or a device such as

a computer mouse or stylus; and (4) extended the filing deadline for new political party and



29
     https://legislature.vermont.gov/Documents/2020/Docs/ACTS/ACT092/ACT092%20As%20Enacted.pdf

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independent candidates from June 22, 2020 to August 7, 2020. See id.

                          Impossibility of Circulation by Candidates

       67.     Plaintiffs LPPA, GPPA and CPPA and their members, supporters, and candidates

seek to begin collecting signatures in order to qualify candidates for Pennsylvania’s November 3,

2020 general election ballot.

       68.     Signatures must be collected in-person and witnessed in-person under Pennsylvania

law.

       69.     Political Body candidates had only one month to collect signatures before Governor

Wolf issued his “stay at home” orders. Because of these expansive emergency orders issued by

the Governor, the public health concerns, measures and protocols described herein, it is not

possible for the Plaintiffs and their candidates to gather additional nomination paper signatures

other than the miniscule number that may be collected within circulators’ separate households.

Substantive petition gathering, in public places, or door-to-door, is not presently possible, has not

yet resumed in Pennsylvania, and will not be resuming for the foreseeable future.

       70.     Signatures collected to support Political Body candidates must be filed not later

than August 3, 2020 with the appropriate elections officials in Pennsylvania in order for those

candidates to qualify for the November 3, 2020 general election ballot.

       71.     Because of the Governor’s orders issued between March 19, 2020 and the present

and public health concerns, measures and protocols described herein, it is impossible for Political

Body candidates to collect the required number of signatures in-person and properly witness them

as required by Pennsylvania law.

       72.     Because it is not clear when the Governor’s emergency orders will be lifted in their

entirety, it is uncertain at present whether further in-person signature collection will become



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possible before the August 3, 2020 deadline for Political Body candidates.

        73.     On March 30, 2020, Plaintiff GPPA, sent a letter to Governor Wolf, Lt. Governor

John Fetterman, Secretary of the Commonwealth Kathy Boockvar, Deputy Secretary for Elections

and Commissions Jonathan M. Marks, Speaker of the House Rep. Mike Turzai, and State and

Government Committee chairs Rep. Garth Everett, Rep. Kevin Boyle, Sen. John Disanto, and Sen.

Anthony Williams, urgently requesting that they grant relief from the petitioning requirements for

minor parties and political bodies for the remainder of 2020. See Exhibit B (attached). To date,

Plaintiff, GPPA has not received a response from any of the aforementioned parties, with the

exception of the response from Timothy E. Gates, Chief Counsel for the Governor’s Office of

General Counsel, below, stating that their letter has been received.

        74.     On March 31, 2020, Plaintiff LPPA sent a letter via U.S. Certified Mail to Secretary

Kathy Boockvar, with a courtesy copy sent via U.S. Certified Mail to Governor Wolf, urgently

requesting that they grant relief from the petitioning requirements for Minor Parties and Political

Bodies for the remainder of 2020. See Exhibit C (attached). To date, Plaintiff, LPPA has not

received a response from any of the aforementioned parties, with the exception of the response

from Timothy E. Gates, Chief Counsel for the Governor’s Office of General Counsel, below,

stating that their letter has been received.

        75.     On April 20, 2020, Plaintiff CPPA sent a letter to Governor Wolf, Lt. Governor

John Fetterman, Secretary of the Commonwealth Kathy Boockvar, Deputy Secretary for Elections

and Commissions Jonathan M. Marks, Speaker of the House Rep. Mike Turzai, and State and

Government Committee chairs Rep. Garth Everett, Rep. Kevin Boyle, Sen. John Disanto, and Sen.

Anthony Williams, urgently requesting that they grant relief from the petitioning requirements for

minor parties and political bodies for the remainder of 2020. See Exhibit D (attached). To date,



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Plaintiff, CPPA has not received a response from any of the aforementioned parties.

        76.     On April 29, 2020, Plaintiff LPPA sent a letter via U.S. Registered Mail to

Governor Tom Wolf and Secretary Kathy Boockvar reiterating its urgent request for relief from

the statutory provisions requiring the party to circulate nomination papers and obtain signatures

by hand, similar to the relief obtained in Libertarian Party of Illinois, et al. v. Pritzker. See Exhibit

E (attached). To date, Plaintiff, LPPA has not received a response from any of the aforementioned

parties, with the exception of the response from Timothy E. Gates, Chief Counsel for the

Governor’s Office of General Counsel, below, stating that their letter has been received.

        77.     On April 30, 2020, Plaintiff GPPA sent a letter to Governor Wolf, Lt. Governor

John Fetterman, Secretary of the Commonwealth Kathy Boockvar, Deputy Secretary for Elections

and Commissions Jonathan M. Marks, Speaker of the House Rep. Mike Turzai, and State and

Government Committee chairs Rep. Garth Everett, Rep. Kevin Boyle, Sen. John Disanto, and Sen.

Anthony Williams reiterating its urgent request for relief from the statutory provisions requiring

the party to circulate nomination papers and obtain signatures by hand. See Exhibit F (attached).

To date, Plaintiff, GPPA has not received a response from any of the aforementioned parties, with

the exception of the response from Timothy E. Gates, Chief Counsel for the Governor’s Office of

General Counsel, below, stating that their letter has been received.

        78.     The LPPA and GPPA each received response letters dated May 4, 2020, from

Timothy E. Gates, Chief Counsel for the Governor’s Office of General Counsel, stating:

        Kindly be advised that the Pennsylvania Department of State is in receipt of your
        correspondence requesting relief for access to the ballot as a political body for the 2020
        general election. My office is currently reviewing this matter with our agency clients. We
        will be in touch soon.

See Exhibit G (attached).

To date, neither Attorney Gates, nor Governor Wolf or Secretary Boockvar have made further


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contact with the Plaintiffs and they have offered no relief.

       79.     At present, Defendants continue to enforce signature requirements that were

invalidated in CPPA v. Aichele. The Pennsylvania Department of State has posted the signature

requirements online based on an order this Court entered on June 30, 2016. See Pennsylvania

Department of State, Minor Political Party and Political Body Signature Requirements for

Statewide    Offices   for    General     Election    –   November      3,   2020,    available     at

https://www.dos.pa.gov/VotingElections/CandidatesCommittees/RunningforOffice/Documents/2

020/3rd%20party%20signature%20requirements%202020.pdf (accessed May 11, 2020).                    The

correct signature requirements, however, are established by this Court’s February 1, 2018 order,

which expressly supersedes the Court’s June 30, 2016 order. See Exhibit A.

                                Injury-in-Fact Caused Plaintiffs

       80.     Pennsylvania law, together with the coronavirus outbreak and the Governor’s

orders, cause injury-in-fact to Plaintiffs and Plaintiffs’ First and Fourteenth Amendment rights.

       81.     Plaintiffs’ injuries are fairly traceable to the Pennsylvania laws requiring in-person

signature collection for candidates between February 19, 2020 to August 3, 2020 and the

Governor’s orders described herein.

       82.     This Court has the power to properly redress Plaintiffs’ injuries by issuing

prospective injunctive and declaratory relief prohibiting enforcement of Pennsylvania’s signature

requirement for candidates for office for the November 3, 2020 general election.

       83.     This Court may properly redress Plaintiffs’ injuries by directing Defendants to

accept for the November 3, 2020 general ballot any candidate running on behalf of Plaintiffs

LPPA, GPPA and CPPA, without requiring the supporting signatures from voters otherwise

required by Pennsylvania law.



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                                   FIRST CAUSE OF ACTION

                                       FIRST AMENDMENT

        84.      All previous paragraphs and allegations are incorporated herein.

        85.      Under present circumstances, Pennsylvania’s ballot access requirements for Minor

Political Parties and Political Bodies violate rights guaranteed to Plaintiffs by the First and

Fourteenth Amendments to the United States Constitution, as enforced through 42 U.S.C. § 1983.

        86.      A real and actual controversy exists between the parties.

        87.      Plaintiffs have no adequate remedy at law other than this action for declaratory and

equitable relief.

        88.      Plaintiffs are suffering irreparable harm as a result of the violations complained of

herein, and that harm will continue unless declared unlawful and enjoined by this Court.

                                  SECOND CAUSE OF ACTION

              FOURTEENTH AMENDMENT EQUAL PROTECTION CLAUSE

        89.      All previous paragraphs and allegations are incorporated herein.

        90.      Under present circumstances, Pennsylvania’s ballot access requirements for Minor

Political Party and Political Bodies violate rights guaranteed to Plaintiffs by the Equal Protection

Clause of the Fourteenth Amendment to the United States Constitution, as enforced through 42

U.S.C. § 1983.

        91.      A real and actual controversy exists between the parties.

        92.      Plaintiffs have no adequate remedy at law other than this action for declaratory and

equitable relief.

        93.      Plaintiffs are suffering irreparable harm as a result of the violations complained of

herein, and that harm will continue unless declared unlawful and enjoined by this Court.



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                                  THIRD CAUSE OF ACTION

                    FOURTEENTH AMENDMENT DUE PROCESS CLAUSE

        94.     All previous paragraphs and allegations are incorporated herein.

        95.     Under present circumstances, Pennsylvania’s emergency “stay at home” orders

preventing in-person meetings, coupled with the Pennsylvania Department of State’s signature

requirement for Minor Parties and Political Bodies that is contrary to the signature requirement

mandated in Constitution Party v. Aichele (see Exhibit A), have so altered Pennsylvania’s ballot-

access requirements for Pennsylvania’s November 3, 2020 election that the Defendants have not

only made it impossible for the Plaintiffs to comply with existing Pennsylvania law, they have

changed Pennsylvania’s ballot requirement in the midst of the 2020 election and thereby violated

rights guaranteed to these Plaintiffs by the Due Process Clause of the Fourteenth Amendment to

the United States Constitution, as enforced through 42 U.S.C. § 1983.

        96.     A real and actual controversy exists between the parties.

        97.     Plaintiffs have no adequate remedy at law other than this action for declaratory and

equitable relief.

        98.     Plaintiffs are suffering irreparable harm as a result of the violations complained of

herein, and that harm will continue unless declared unlawful and enjoined by this Court.

                                    DEMAND FOR RELIEF

                WHEREFORE, the Plaintiffs respectfully pray that this Court:

        1.      Assume original jurisdiction over this case;

        2.      Issue a temporary restraining order and/or preliminary injunction (i) prohibiting

enforcement of Pennsylvania’s signature requirements for Minor Party and Political Body

candidates for office for Pennsylvania’s November 3, 2020 general election; (ii) directing



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Defendants to accept Plaintiffs’ LPPA, GPPA, and CPPA candidates’ nominating papers for the

November 3, 2020 general election without requiring supporting signatures from voters; and (iii)

directing Defendants to place Plaintiffs’ LPPA, GPPA, and CPPA candidates’ names on the

Pennsylvania November 3, 2020 general election ballot.

       3.      Issue a declaratory judgment holding that, in light of the current public health

emergency caused by the novel coronavirus and executive orders requiring that Pennsylvania

citizens stay at home, Pennsylvania’s supporting signature requirements for Minor Political Party

and Political Body candidates for office cannot be constitutionally enforced under the First and

Fourteenth Amendments, that Defendants must accordingly accept Plaintiffs’ LPPA, GPPA, and

CPPA candidates’ nomination papers for the November 3, 20202 general election ballot without

requiring supporting signatures from voters, and that Defendants must accordingly place these

Political Body candidates’ names on the Pennsylvania November 3, 2020 general election ballot.

       4.      Issue a permanent injunction (i) prohibiting enforcement of Pennsylvania’s

supporting signature requirement for candidates for office for Pennsylvania’s November 3, 2020

general election; (ii) directing Defendants to accept Plaintiffs’ LPPA, GPPA, and CPPA

candidates’ nomination papers for the November 3, 20202 general election ballot without requiring

supporting signatures from voters; and (iii) directing Defendants to place Plaintiffs’ LPPA, GPPA,

and CPPA candidates’ names on the Pennsylvania November 3, 2020 general election ballot.

       5.      Order Defendants to pay to Plaintiffs their costs and reasonable attorney’s fees

under 42 U.S.C. § 1988(b); and

       6.      Retain jurisdiction over this matter and order Defendants to provide to Plaintiffs

any additional relief the Court deems just.




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                                                      Respectfully submitted,

                                                      s/ Drew Gray Miller, Esq.

                                                      Drew Gray Miller, Esq.

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Attorney for Plaintiffs                               vice pending
Application for admission pro hac vice pending




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                              VERIFICATION OF PLAINTIFF
                               (pursuant to 28 U.S.C. § 1746)

        I, Alan Smith, acting under the authority of the Plaintiff, Green Party of Pennsylvania,
verify under the penalty of perjury under the laws of the United States that the foregoing is true
and correct.




Executed on: ______________________




__________________________________
Alan Smith
Co-Chair, Green Party of Pennsylvania
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                                 VERIFICATION OF PLAINTIFF
                                  (PurSuant tO 28 U.S.C. § 1746)


       I, Justin Magill, aCting under the authority of the Plaintiff; Constitution Party of
Pemsylvania, Verify under the penalty of perjury under the laws of the United States that the
foregoing is true and correct.



Ex。。ut。d。n‥             S二11‑ 2DIC)
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                                                 VERIFICATION OF PLAINTIFF
                                                  (pursuant to 28 U.S.C. § 1746)

        I, Sheri Miller, acting under the authority of the Plaintiff, Green Party of Pennsylvania,
verify under the penalty of perjury under the laws of the United States that the foregoing is true
and correct.


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Co-Chair, Green Party of Pennsylvania
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